Case 2:22-cv-05367-RGK-MAA        Document 63 Filed 06/09/23            Page 1 of 13 Page ID
                                       #:2412



 1
     PATRICK E. STOCKALPER, SBN 156954
     MOLSHREE GUPTA, SBN 275101
 2
     KJAR, MCKENNA & STOCKALPER, LLP
     841 Apollo Street, Suite 100
 3
     El Segundo, California 90245
     Telephone (424) 217-3026
 4
     Facsimile (424) 367-0400
     pstockalper@kmslegal.com
 5   mgupta@kmslegal.com

 6   Attorneys for Defendants,
 7
     COUNTY OF LOS ANGELES and SERGEANT TRAVIS KELLY
     (Defendants is exempt from filing fees pursuant to Government Code § 6103)
 8
 9                             UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11
     JOSHUA ASSIFF,                               Case No.: 2:22-cv-05367 RGK(MAAx)
12
                 Plaintiffs,                      DEFENDANTS’ MOTION IN
13
                                                  LIMINE NO. 4 TO EXCLUDE OR LIMIT
14               v.                               PLAINTIFF’S EXPERT JEFFREY
15                                                NOBEL; MEMORANDUM OF POINTS
     COUNTY OF LOS ANGELES;                       AND AUTHORITIES
16   SHERIFF DEPUTY BADGE
17   NUMBER 404532; And DOES 1                    (Declaration Of Molshree Gupta Filed
     through 10,                                  Concurrently)
18
19               Defendants.                      Action Filed: August 3, 2022
                                                  Pretrial Conference: July 10, 2023
20
                                                  Trial Date: July 25, 2023
21
22
                                                  Assigned to:
                                                  Hon. R. Gary Klausner, District Judge
23                                                Courtroom 850
24
                                                  All Discovery Matters Referred to:
25                                                Hon. Maria A. Audero, District Judge
26
27
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                                      Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA         Document 63 Filed 06/09/23            Page 2 of 13 Page ID
                                        #:2413



 1           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2           PLEASE TAKE NOTICE THAT defendants COUNTY OF LOS ANGELES and
 3   SERGEANT TRAVIS KELLY (collectively “Defendants”) hereby move this Court for
 4   an order in limine to exclude or limit evidence, references, argument and testimony from
 5   Plaintiff JOSHUA ASSIFF’s police practices expert, Jeffrey Nobel.
 6           Defendants bring this Motion on the grounds that this evidence is irrelevant,
 7   without proper foundation under FRE 702, and unfairly prejudicial, confusing and/or a
 8   waste of time. Therefore, it is inadmissible and should be excluded pursuant to Federal
 9   Rules of Evidence §§ 402, 403 and 404. Any attempt to convey this information to the
10   jury would be highly improper and unfairly prejudicial to Defendants, even if the court
11   were to sustain an objection and instruct the jury to not consider these facts. Thus, this
12   motion seeks a ruling in advance.
13           Defendants further move this Court to instruct plaintiffs and their counsel and to
14   require them to advise all witnesses:
15           1. Not to attempt to convey to the jury, directly or indirectly, any of the facts
16   mentioned in this Motion without first obtaining permission of the Court outside the
17   presence and hearing of the jury;
18           2. Not to make any reference to the fact that this Motion has been filed; and
19           3. To warn and caution each of plaintiffs’ witnesses to strictly follow the same
20   instructions.
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                                       Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA      Document 63 Filed 06/09/23             Page 3 of 13 Page ID
                                     #:2414



 1         This motion is made following compliance with the meet and confer requirements
 2   of Local Rule 7-3. This Motion is based upon the Memorandum of Points and
 3   Authorities and Declaration of Molshree Gupta, served herewith, upon the pleadings and
 4   papers on file herein, and upon such other and further oral argument and evidence as
 5   may be presented at the hearing on this Motion.
 6
 7   Dated: June 9, 2023                    KJAR, MCKENNA & STOCKALPER, LLP

 8
 9
                                     By: ___________________________________
10
                                         PATRICK E. STOCKALPER
11                                       MOLSHREE GUPTA
                                         Attorneys for Defendants,
12
                                         COUNTY OF LOS ANGELES and SERGEANT
13                                       TRAVIS KELLY
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                                     Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA         Document 63 Filed 06/09/23            Page 4 of 13 Page ID
                                        #:2415



 1
                     MEMORANDUM OF POINTS AND AUTHORITIES
 2
     I.     INTRODUCTION & ARGUMENT
 3
           This is a 42 U.S.C. §1983 alleged excessive force case arising out of a traffic stop
 4
     and subsequent arrest of Plaintiff JOSHUA ASSIFF (“Plaintiff”) by Defendant
 5
     SERGEANT TRAVIS KELLY (“Defendant Kelly”) on September 24, 2021, in the
 6
     Santa Clarita Valley. Plaintiff alleges that Defendant Kelly pulled him over for no
 7
     apparent reason; tasered, choked, pepper sprayed and beat him; and arrested him without
 8
     probable cause, all in violation of his constitutional rights.
 9
           On May 10, 2023, Plaintiff designated an police practices expert named Mr. Jeffrey
10
     Nobel. Exhibit *. This motion serves to exclude Mr. Nobel as an expert entirely or, in
11
     the alternative, certain opinions by Mr. Nobel as they lack sufficient evidentiary
12
     foundation, are mere argument, credibility, or evidence weighing opinions, opinions re:
13
     intent and motivation, etc. and, thus, are speculative, not helpful to the jury, and are not
14
     admissible. See Federal Rules of Evidence, Rules 401, 402, 403, and 702.
15
           Under Federal Rules of Evidence, Rule 104(a), “[p]reliminary questions concerning
16
     the qualification of a person to be a witness, the existence of a privilege, or the
17
     admissibility of evidence shall be determined by the court, subject to the provisions of
18
     subdivision (b).” Accordingly and pursuant to FRE 104(a), Defendants request such a
19
     Daubert hearing outside the presence of the jury to review his testimony if this Court is
20
     inclined to deny this motion. City of Tuscaloosa v. Harcros Chem. Inc. (11th Cir. 1998)
21
     158 F.3d 548, 564-65 n. 21.
22
     II.    LEGAL AUTHORITY FOR MOTIONS IN LIMINE
23
            A motion in limine “is any motion, whether made before or during trial, to exclude
24
     anticipated prejudicial evidence before the evidence is actually offered.” Luce v. United
25
     States (1984) 469 U.S. 38, 40. Motions in limine are well recognized in practice and by
26
     case law. See Ohler v. United States (2000) 529 U.S. 753, 758; United States v. Cook
27
     (9th Cir. 1979) 608 F.2d 1175, 1186.
28


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                                       Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA        Document 63 Filed 06/09/23             Page 5 of 13 Page ID
                                       #:2416



 1          The purpose is to avoid the futile attempt of “unring[ing] the bell” when jurors
 2   have seen or heard inadmissible evidence, even when stricken from the record. See
 3   Brodit v. Cambra (9th Cir.2003) 350 F.3d 985, 1004-05 (citing Kelly v. New West Fed.
 4   Sav. (1996) 49 Cal. App. 4th 659, 669). Motions in limine also serve to streamline trials,
 5   by settling evidentiary disputes in advance. See U.S. v. Tokash (7th Cir. 2002) 282 F.3d
 6   962, 968.
 7   III.   LEGAL STANDARD FOR EXPERT TESTIMONY
 8          Due to the “special kind prejudice” improper expert testimony may cause, the
 9   admissibility requirements of expert testimony are stringent, the party presenting the
10   expert bears the burden of proving the admissibility of the expert’s opinions, and the
11   Court has a duty to screen expert testimony “to ensure that the expert testimony both
12   rests on reliable foundation and is relevant.” Acad. of Motion Pictures Arts & Scis. v.
13   GoDaddy.com, Inc. (CD. Cal. June 21, 2013) 2013 WL 12122803, at *2 (emphasis
14   added); Daubert v. Merrell Dow Pharm., Inc. (1993) 509 U.S. 579, 589-90 (“Daubert
15   I”); Kumho Tire Co. v. Carmichael (1999) 526 U.S. 137, 147; Daubert v. Merrell Dow
16   Pharma., Inc. (1995) 43 F.3d 1311, 1315 (“Daubert II”); see also Fed. Rules Evid. 702.
17          Federal Rule of Evidence 702 (“Rule 702”) governs the admissibility of expert
18   testimony stating, “A witness who is qualified as an expert by knowledge, skill,
19   experience, training, or education may testify in the form of an opinion or otherwise if
20   the expert's scientific, technical, or other specialized knowledge will help the trier of fact
21   to understand the evidence or to determine a fact in issue.”
22          Relevant expert testimony “must be ‘tied to the facts’ of the case” and “assist the
23   trier of fact to understand the evidence or to determine a fact in issue.” Fed.R.Evid. 702;
24   Daubert I, 509 U.S. at 591; Cooper v. Brown (9th Cir. 2007) 510 F.3d 870, 942
25   (emphasis added and citing Daubert II, 43 F.3d at 1315.)
26          It is well-established that expert testimony that weighs factual evidence and/or
27   assigns credibility to certain sources of evidence over others does not assist the trier of
28   fact. See, e.g., United States v. Toledo (10th Cir.1993) 985 F.2d 1462, 1470 (holding that


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                                       Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA          Document 63 Filed 06/09/23             Page 6 of 13 Page ID
                                         #:2417



 1   “[t]he credibility of witnesses is generally not an appropriate subject for expert
 2   testimony.”); United States v. Ward (3d Cir. 1948) 169 F.2d 460, 462 (“[T]he ‘expert’
 3   may not go so far as to usurp the exclusive function of the jury to weigh the evidence
 4   and determine credibility,” or offer improper legal opinions).
 5
     IV.    UNDISCLOSED OPINIONS MUST BE EXCLUDED
 6
            Rule 26 governs discovery and the duty to disclose. Subsection (a)(2) governs
 7
     disclosure of expert testimony. It states that each party must disclose to the opposition the
 8
     identity of any expert witness. Fed.R.Civ.P. 26(a)(2)(A). That disclosure must be
 9
     accompanied by a written report containing: (1) a complete statement of all opinions the
10
     witness will express and the basis and reasons for them; (2) the facts or data considered by the
11
     witness in forming them; (3) any exhibits that will be used to summarize or support them; (4)
12
     the witness's qualifications, including a list of all publications authored in the previous 10
13
     years; (5) a list of all other cases in which, during the previous 4 years, the witness testified as
14
     an expert at trial or by deposition; and (6) a statement of the compensation to be paid for the
15
     study and testimony in the case. Fed.R.Civ.P. 26(a)(2)(B). Rule 37(c)(1) gives teeth to these
16
     requirements by automatically excluding any evidence not properly disclosed under Rule
17
     26(a), irrespective of the party's bad faith or willfullness. Yeti by Molly Ltd. v. Deckers
18
     Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir.2001).
19
            Plaintiff’s May 10, 2023, Expert Disclosure attached an expert report by Mr. Nobel
20
     which provided the following opinions: 1) Sergeant Kelly’s Failure to Use De-Escalation
21
     Techniques Was Inconsistent with Generally Accepted Police Practices [Exhibit B, Mr.
22
     Nobel’s Report, pp. 14-15]; 2) Sergeant Kelly’s Use of Pepper Spray on Mr. Assiff was
23
     Objectively Unreasonable, Excessive and Inconsistent with Generally Accepted Police
24
     Practices [Exhibit B, Mr. Nobel’s Report, pp. 15-20]. Despite acknowledging that he
25
     received and reviewed Defendant County of Los Angeles’ Responses to Plaintiff’s Request
26
     for Production, Sets One and Two, and providing the Los Angeles Sheriff’s Department
27
     Policies as bases for his opinions, Mr. Nobel offered no facts, opinions or conclusions with
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                                         Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA          Document 63 Filed 06/09/23              Page 7 of 13 Page ID
                                         #:2418



 1   respect to either Plaintiff’s claims or allegations regarding unlawful arrest, Monell liability or
 2   punitive damages. In fact, Mr. Nobel’s opinions are limited to the subject use of force.
 3          Accordingly, such undisclosed and unsupported opinions be excluded.
 4
      V.    SPECULATIVE OPINIONS MUST BE EXCLUDED
 5
 6      It is well-established that that experts may not offer speculative opinions, including
 7   regarding a defendant’s intent, motive, state of mind, etc. Billington v. Smith (9th Cir.
 8   2002) 292 F.3d 1177, 1189, abrogated on other grounds re: “provocation theory” by Cty.
 9   of Los Angeles, Calif. v. Mendez (2017) 137 S. Ct. 1539; In re: Rezulin Products
10   Liability Litigation (S.D. N.Y. 2004) 309 F.Supp.2d 531, 545-46.
11      Mr. Nobel opines that “[h]ad Sergeant Kelly followed generally accepted police
12   practices and his department policy and used de-escalation to gain voluntary compliance,
13   it is likely that no force would have been necessary.” [Exhibit B, Mr. Nobel’s Report, p.
14   15.] This opinion makes an unsupported conclusion that Defendant Kelly did not follow
15   generally accepted police practices and his department policy and used de-escalation to
16   gain voluntary compliance. Moreover, speculation as to what may have happened in a
17   hypothetical is not helpful to a jury. The relevant inquiry is whether Defendant Kelly’s
18   purported use of force was reasonable under the circumstances in the underlying incident, not
19   some other hypothetical situation.
20      As to Defendant Kelly’s intent and motive. Mr. Nobel opines that “Sergeant Kelly
21   unnecessarily … create[ed] the need to use force that would have likely not have been
22   otherwise necessary.” [Exhibit B, Mr. Nobel’s Report, p. 15.] Mr. Nobel also opines as to
23   the intent behind Defendant Kelly’s communications with Plaintiff during the subject
24   incident. Specifically, Mr. Nobel opines that, “instead of simply telling Mr. Assiff why he
25   had been stopped, Sergeant Kelly initiated the conversation by asking Mr. Assiff the color of
26   the light when he made his turn.” [Exhibit B, Mr. Nobel’s Report, p. 15.] This opinion
27   assumes that Defendant Kelly’s communications were not intended to communication the
28   reason for the traffic stop.


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                                          Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA       Document 63 Filed 06/09/23            Page 8 of 13 Page ID
                                      #:2419



 1      Accordingly, Mr. Nobel cannot testify or speculate as to any hypotheticals, or
 2   Defendant Kelly’s intention or motivations during the incident.
 3
     VI.    OPINIONS BASED ON HINDSIGHT ANALYSIS MUST BE EXCLUDED
 4
            The reasonableness of the force used “must be judged from the perspective of a
 5
     reasonable officer on the scene, rather with the 20/20 vision of hindsight…
 6
     Reasonableness must embody allowance for the fact that police officers are often forced
 7
     to make split second judgments—in circumstances that are tense, uncertain, and rapidly
 8
     evolving” Graham v. Connor (1989) 490 U.S. 386, 396; (citing Terry v. Ohio (1968) 392
 9
     U.S. 1, 20-22; Monzon v. City of Murrieta (9th Cir. Oct. 27, 2020) No. 19-55164, 2020
10
     WL 6293163, at *5.
11
            A police practices experts hindsight analysis and critique does not alone render
12
     their opinions relevant, admissible, or helpful to the jury. Mr. Nobel’s May 10, 2023,
13
     Report states the following improper opinions:
14
            “Had Sergeant Kelly followed generally accepted police practices and his
15
     department policy and used de-escalation to gain voluntary compliance, it is likely that
16
     no force would have been necessary.” [Exhibit B, Mr. Nobel’s Report, p. 15.]
17
18
19
     VII.   MR. NOBEL’S OPINIONS REGARDING DEFENDANT KELLY’S USE OF
20
            PEPPER SPRAY DUE TO PLAINTIFF’S “PASSIVE RESISTANCE” MUST
21
            BE EXCLUDED
22
            Mr. Noble opines that “while Mr. Assiff was not complying with Sergeant Kelly’s
23
     command he was not actively resisting, but merely passively resisting.” [Exhibit B, Mr.
24
     Nobel’s Report, p. 18.] However, immediately thereafter, Mr. Noble concedes that “active
25
     resistance is defined as “Physically evasive movements to defeat an officer’s attempt at
26
     control, including bracing, tensing, running away, or verbally or physically signaling an
27
     intention to avoid or prevent being taken into or retained in custody.” [Exhibit B, Mr.
28


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                                     Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA        Document 63 Filed 06/09/23             Page 9 of 13 Page ID
                                       #:2420



 1   Nobel’s Report, p. 18.] The foregoing concession, in light of his summary of the incident
 2   which concedes that Plaintiff actively resisted Defendant Kelly during the incident, erodes the
 3   admissibility of his opinion. Specifically, Mr. Nobel concedes that: 1) when “Sergeant
 4   Kelly… reached into the vehicle and tried to pull Mr. Assiff out[,] Mr. Assiff resisted by
 5   pulling away…”; 2) “Sergeant Kelly claimed that Mr. Assiff kicked him as he opened the
 6   driver’s door…”; 3) “Sergeant Kelly told Mr. Assiff to get out of the vehicle or he would be
 7   pepper sprayed and [] Mr. Assiff refused…”; 4) “Deputy Clark arrived to assist Sergeant
 8   Kelly and both deputies tried to pull Mr. Assiff out of the car…”; “Sergeant Kelly said … Mr.
 9   Assiff puched Deputy Clark in the chest…”. [Exhibit B, Mr. Nobel’s Report, p. 6.]
10
11   VIII. MR. NOBEL’S OPINIONS REGARDING DEFENDANT KELLY’S USE OF
12         FORCE MUST BE EXCLUDED
13         Mr. Noble opines that Defendant Kelly’s punch to Plaintiff’s face with a fist was
14   objectively unreasonable because the video does not show Plaintiff punching any deputy
15   during the incident. [Exhibit B, Mr. Nobel’s Report, pp. 18-19.] However, none of the
16   videos depicting the incident show any deputy striking Plaintiff either.            Mr. Noble
17   proffers his opinion on the fact that Defendant Kelly admits to punching Plaintiff in the
18   face but he lacks substantiating evidence that it occurred.
19         Mr. Nobel reveals his inability to be fair and impartial in his review, because it
20   would be unfair and not factual to assert that Plaintiff did not punch or kick the deputies
21   while asserting that the deputies did hit Plaintiff. If Mr. Nobel can take Defendant Kelly
22   at his word that he struck Plaintiff in the face with his fist, why did he not take
23   Defendant Kelly at his word that Plaintiff kicked him at the outset of this incident or that
24   Plaintiff was not only an active resister but an aggressive assaulter, making Defendant
25   Kelly’s actions in striking Plaintiff objectively reasonable?
26         Allowing Plaintiff’s expert to opine in light of apparent bias, specifically in light
27   of the threat of the “special kind prejudice” posed by improper expert testimony, would
28   be unfair to Defendant.


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                                       Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA        Document 63 Filed 06/09/23             Page 10 of 13 Page ID
                                        #:2421



 1   IX.     MR. NOBEL’S OPINIONS REGARDING DEPUTY CLARK’S USE OF
 2           FORCE MUST BE EXCLUDED
 3
             Mr. Noble opines that Deputy Clark’s use of a “neck hold” was an objectively
 4
     unreasonable use of force. [Exhibit B, Mr. Nobel’s Report, pp. 19-20.] Mr. Noble uses the
 5
     Plaintiff’s video as evidence that Deputy Clark wrapped his arm around Plaintiff’s neck, but
 6
     the still photo offered as proof shows that Deputy Clark had his arm just above the neck at the
 7
     back of the head and on the jaw. Moreover, the entire video is very quick (30 seconds) and
 8
     inconclusive as to how long Deputy Clark’s arm was in the area of Plaintiff’s neck.
 9
             Once again, by unfairly characterizing Deputy Clark’s conduct, Mr. Nobel reveals
10
     his inability to be fair and impartial in his review. Allowing Plaintiff’s expert to opine in
11
     light of apparent bias, specifically in light of the threat of the “special kind prejudice”
12
     posed by improper expert testimony, would be unfair to Defendant.
13
     X.      MEET AND CONFER
14
             On June 8, 2023, and on June 9, 2023, counsel for Defendants wrote to counsel for
15
     Plaintiff to request to met and conferred on the substance of this Motion in Limine.
16
     Gupta Decl. ¶ 4. No agreement could be reached. Gupta Decl. ¶ 4.
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                                       Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA     Document 63 Filed 06/09/23             Page 11 of 13 Page ID
                                     #:2422



 1   XI.   CONCLUSION
 2         Based on the foregoing, defendants respectfully request the Court grant this
 3   Motion in Limine, and exclude or limit evidence, references, argument and testimony
 4   from Plaintiff JOSHUA ASSIFF’s police practices expert, Jeffrey Nobel.
 5
 6   Dated: June 9, 2023                   KJAR, MCKENNA & STOCKALPER, LLP

 7
 8
                                    By: ___________________________________
 9
                                        PATRICK E. STOCKALPER
10                                      MOLSHREE GUPTA
                                        Attorneys for Defendants,
11
                                        COUNTY OF LOS ANGELES and SERGEANT
12                                      TRAVIS KELLY
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                                    Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA       Document 63 Filed 06/09/23             Page 12 of 13 Page ID
                                       #:2423



 1                                   CERTIFICATE OF SERVICE
 2
           I am employed in the County of Los Angeles, State of California; I am over the
 3   age of eighteen years and not a party to the within action; my business address is 841
 4   Apollo Street, Suite 100, El Segundo, California 90245.
 5
            On June 9, 2023, I served the foregoing document described as DEFENDANTS’
 6   MOTION IN LIMINE NO. 4 TO EXCLUDE OR LIMIT PLAINTIFF’S EXPERT
     JEFFREY NOBEL; MEMORANDUM OF POINTS AND AUTHORITIES
 7
     on all interested parties in this action by placing a true copy thereof in a sealed envelope
 8   addressed as follows:
 9
                               SEE ATTACHED SERVICE LIST
10
11
           By Mail I caused such envelope(s) to be deposited in the mail at El Segundo,
12         California. The envelope was mailed with postage thereon fully prepaid and
13         addressed to the parties listed on the Service List. I am “readily familiar” with the
           firm’s practice of collection and processing correspondence for mailing. It is
14
           deposited with U.S. postal service on that same day in the ordinary course of
15         business. I am aware that on motion of party served, service is presumed invalid
16
           if postal cancellation date or postage meter date is more than 1 day after date of
           deposit for mailing in affidavit.
17
18   XX    By Email Based upon a court order or an agreement of the parties to accept
           electronic service, I caused the documents to be sent to the persons at the
19         electronic service addresses listed in the Service List. My email address is
20         mnixon@kmslegal.com.
21
           By Personal Service I caused such document to be Personally Served on the
22         parties listed in the Service List.
23
     XX    State I declare under penalty of perjury under the laws of the State of California
24         that the foregoing is true and correct.
25
           Executed on June 9, 2023, at El Segundo, California.
26
27
28                                           Maria Nixon


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                                      Defendants’ Motion in Limine #4
Case 2:22-cv-05367-RGK-MAA    Document 63 Filed 06/09/23             Page 13 of 13 Page ID
                                    #:2424



 1                                     SERVICE LIST

 2                    Assiff, Joshua vs. County of Los Angeles, et al.
 3                 Central District- Case No.: 2:22-cv-05367 RGK(MAAx)
 4
      Thomas M. Ferlauto, Esq.                                  Attorney for Plaintiff,
 5    Law Office of Thomas M. Ferlauto, APC                     JOSHUA ASSIFF
      25201 Paseo de Alicia, Ste. 270
 6
      Laguna Hills, CA 92653
 7    EM: tmf@lawofficetmf.com
 8
      Philip Cohen, Esq.                                        Co-Attorney for Plaintiff.
 9    Law Offices of Philip Kent Cohen, APC                     JOSHUA ASSIFF
10    100 Wilshire Boulevard, Suite 1300
      Santa Monica, CA 90401
11
      Telephone: 310/451-9111
12    Facsimile: 310/451-9119
      EM: pcohen@pcohenlaw.com
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                                   Defendants’ Motion in Limine #4
